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UNITED STA'I`E DISTRICT COUR'I`
EASTERN DISTRICT OF LOUISIANA
SUSAN ANI) JACOB SCHWANDER "‘ CIVIL ACTI()N NO.

k

VERSUS "‘ JUDGE:

*

DR. BRANI)T M. ZIMMER, M.D. AND "* MAGISTRATE:
DlAGNOSTIC IMAGING SERVICES, ""
INC. ""

k

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COMPLAINT
NOW INTO COURT, through undersigned counsel come the Plaintiffs, Susan and
Jacob SchWander (“Piaintiffs” hereafter) Who, for the purpose of asserting a Complaint and cause
of action against Brandt M. Zimmer, MD and Diagnostic Imaging Services (“Defendants”
hereafter), resi)ectfuily aver as foilows:
1.
The Plaintiffs are residents and citizens of the State of Louisiana of the full age of
majority
2.
Brandt M. Zimmer, MD., is a resident or Orleans Parish and citizen of the State of

- Louisiana of the full age of maj ority-.-

 

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3.

Diagnostic Imaging Services (hereafter “DIS”) is a corporation existing pursuant to the

laws of the State of Louisiana With its principal place of business in Metairie, Louisiana.
4.

This Court has jurisdiction under 28 U.S.C. § 1331, Which grants district coui ’s “original
jurisdiction of all civil actions arising under the Constitution, laWs, or treaties of the United
States.”

5.

This court is the proper venue for this action as the plaintiffs are residents and citizens of
the Parish of Orleans. Defendant, lDIS, has its principal place of business and its registered agent
for service of process is within the jurisdiction of this Honorable Court. Furtherrncre, the events
Which give rise to this action occurred in Marrero, Louisiana Wiiich is also Within the venue of
this Honorable Court.

5.

42 USC 6A (ll)(F)(S), known as the i\/Iamniograpiiy Quality Standards Act (herein after
“MQSA”) Was passed by Congress on October 27, 1992, to establish national quality standards
for niainniography.- The MQSA requires, inter alia, each facility ~to send each patient a summary-

of_ a mammography report Written in lay terms Within 30 days of a inarnmographic examination

 

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6.
On Septernber 11, 2012, Susan Schwander underwent an annual mammcgram at DIS
Woinen’s Center, in l\/Ietairie, Louisiana. On the same day her results were read and interpreted
by Dr. Brandt M. Zinnner, M.D. and a report Was Written. The results of the exam stated that the

Work-up Was “Incomplete” and that the patient “[n]eeded additional imaging evaluation”.

7.

Susan SchWander never received the report and upon information and belief Would assert

that one Was never sent by the Defendants in violation of the MQSA.
8.

On Noveinber ll, 20]3, Susan Schwander underwent an annual mammograrn, at DIS
Women’s Center, in Metairie, Louisiana. The results Were read and interpreted by lane Clayton,
MD. A report Was Written the same day stating that the results of the mammograrn Were, again,
“[i]nconciusive” and that additional imaging Wouid be needed.

9.

Susan Schwander received a letter from DIS in mid~November 2013 alerting her of the

irregularities of the mamrnogram and urging her to call her referring physician at Which point

Piaintiff made further arrangements With DIS to have rnore extensive testing done.

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l 0.

Susan Schwander underwent a third inammograni on November 22, 2013 and was
advised by the attending radiologist that she should follow up with her treating physician due to
enlarged lymph nodes and the suspicion of possible malignancy.

l l .
On Deceniber 461 2013 Plaintiff saw Dr. Don R. Guzzetta who ordered a biopsy to be
performed on Decernber 12, 20l 3 to further investigate the findings of the mammogram.
1 2.
On Decenrber 16, 2013 Susan Schwander was diagnosed with advanced breast cancer.
l 3 .

Plaintiffs aver that the failure of the l)efendants to timely notify her of the results of the
Septernber 11, 2012 mammograrn was in violation of and breached the statutory requirements of
the MQSA.

1 4.

Piaintiffs further aver that the failure to notify by the Defendants and the ensuing delay in
diagnosis and treatment proximately caused a significant diminution of her chance of survival,
necessitated far more aggressive therapy and surgery than would otherwise have been necessary,
significantly greater medical expenses, mental anguish§ - anxiety, distress§ fear of - death and

disfigurement and other injury and damages which _will be shown at the time of triai_.

 

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15.

Plaintiff, Susan Schwander, seeks compensatory damages as foilows:

MEDICAL EXPENSES $ 750,000.00

GENERAL DAMAGES FOR

PAIN, SUFFERING AND LOSS

OF ENJOYMENT OF LIFE $1,000,000.00
16.

Jacob Schwander has also sustained a loss of consortium proximately caused by the
violation of the MQSA by the Defendants in the amount of $25 0,000.00.

WHEREFORE, Susan and Jacob Schwander, pray that the Defendants be duly cited
and summoned to appear and answer this Complaint and that after due proceedings are had there
be judgment rendered in their favor and against the Defendants for all such damages as are
reasonable to compensate them for the injuries and damages sustained herein, for all costs and
expenses incurred herein and for all other general and equitable relief to which the Plaintiffs,

may be deemed entitled

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Respectfully submitted,

CHOPIN, WAGAR, RICHARD
& KU'I`CHER, L.L.P.

By: /s/ Nelson W. Wagari ill
NELSON W. WAGAR III (#13136), T.A.
SARAH NEY (#25471)

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Attomeyfor Plaintifjs Susan & Jacob Sch wander

PLEASE SERVE:

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MARRERO, LA 7007l

And
DIAGNOSTIC IMAGING SERVICES, INC.

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